Case 8:22-cr-00127-DOC Document 1 Filed 12/21/21 Page 1 of 15 Page ID #:1
 Case 8:22-cr-00127-DOC Document 1 Filed 12/21/21 Page 2 of 15 Page ID #:2




                           A F F I D A V I T

     I, Farshid Hashempour, being duly sworn, hereby declare and

state as follows:
                            I. INTRODUCTION

     1.     I am a Detective with the Santa Ana Police Department

(“SAPD”) and also a federally deputized Task Force Officer

(“TFO”) presently working with the Federal Bureau of

Investigation (“FBI”).

     2.     I am assigned to the Orange County Violent Gang Task

Force (“OCVGTF”).   The OCVGTF is composed of federal and local

law enforcement agencies, including, but not limited to, the FBI,

the SAPD, and detectives from the Anaheim Police Department.           The

OCVGTF is responsible for, among other things, investigating

violations of federal law committed by criminal street gangs, the

Mexican Mafia, and other violent criminal organizations in Orange

County.   Prior to this assignment with the FBI, I was a SAPD

Police Officer and have been so employed for approximately 20

years.
     3.     I have specialized training and experience in

investigations of narcotics trafficking and criminal street

gangs.    During my tenure as a Police Officer, as well as an FBI

TFO, I have conducted and participated in numerous investigations

of criminal activity, specifically including narcotics

trafficking and violent offenses committed by street gangs.

Since joining the OCVGTF in 2010, I have specialized in

investigations of the Mexican Mafia and its subordinate gangs in
 Case 8:22-cr-00127-DOC Document 1 Filed 12/21/21 Page 3 of 15 Page ID #:3



Orange County.   As a part of these investigations, I have also

learned about the drug trafficking organizations that supply

street gangs with illegal narcotics.

                       II. PURPOSE OF AFFIDAVIT

     4.    This affidavit is made in support of a criminal

complaint against and arrest warrant for GERALD ADAM ROYSTER

(“ROYSTER”) for a violation of Title 18, United States Code,

Section 922(g)(1) (felon in possession of a firearm and

ammunition).

     5.    The facts set forth in this affidavit are based upon

information obtained from other law enforcement personnel, my

personal knowledge, and my training and experience.          This

affidavit is intended to show merely that there is sufficient

probable cause for the requested complaint and warrant, and does

not purport to set forth all of my knowledge of or investigation

into this matter.    Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only.


                    III. SUMMARY OF PROBABLE CAUSE

     6.    As part of a theft investigation, Newport Beach Police

Department (“NBPD”) detectives surveilled and conducted a stop

of a black BMW in Costa Mesa, California.        As NBPD detectives

approached the vehicle, one office observed the driver, later

identified as ROYSTER, manipulating something on his right side,
 Case 8:22-cr-00127-DOC Document 1 Filed 12/21/21 Page 4 of 15 Page ID #:4




where it appeared that ROYSTER was pushing something down with

his right hand in an attempt to conceal the item.

     7.    ROYSTER and his passengers were detained pursuant to

the theft investigation.     A records check of ROYSTER determined

that he was on active parole and subject to search and seizure

conditions.   During a subsequent search of the vehicle, the

detectives found two firearms -- a loaded Glock, model 42, .380

caliber handgun, bearing serial number ACUP267, and an unmarked

9mm handgun – and additional ammunition.        The Glock was found

wedged between the driver’s seat and the center console, where

an NBPD detective had observed ROYSTER pushing something down.

     8.    ROYSTER was detained and not handcuffed at the scene.

Before speaking to ROYSTER, an NBPD Detective informed ROYSTER

that he was not under arrest and only being detained.          During

their conversation, ROYSTER admitted that the firearms and

ammunition found in the BMW belonged to him.         Record checks

identified ROYSTER as a convicted felon.        An FBI analysis later

concluded that the Glock firearm and ammunition seized from

ROYSTER had traveled in interstate commerce.

                   IV. STATEMENT OF PROBABLE CAUSE

     A.    December 1, 2021 Arrest of ROYSTER

     9.    On November 30, 2021, at approximately 9:06 p.m., NBPD

dispatch received a call for service in reference to a

suspicious vehicle with a car alarm in the area of 242 Marsala,

Newport Beach, California.      Upon their arrival, NBPD officers

located the vehicle, which was described as a black Toyota
 Case 8:22-cr-00127-DOC Document 1 Filed 12/21/21 Page 5 of 15 Page ID #:5




4Runner bearing California license plate number 6VHY495.           The

officers contacted the owner of the vehicle and discovered that

the vehicle had been stolen.      The victim informed the officers

that he had parked his vehicle in the area of 1200 Bison Avenue,

Newport Beach, earlier in the evening at 4:30 p.m.          The victim

came to the location where his vehicle was found and identified

for the officers numerous items missing from his car, including

tools, electronics, electronic cords, and business cards.

     10.   Approximately two hours prior to receiving the call

regarding the stolen Toyota 4Runner, NBPD officers conducted a

traffic stop on a black BMW 740i, bearing California license

plate number 8PNJ171.     A total of three individuals were in the

vehicle.   The driver, identified as Timothy Richards, was found

to be on probation subject to search and seizure conditions.

During a subsequent search of the BMW, NBPD officers found

narcotics and narcotic paraphernalia.        NBPD Officer J. Surber

observed numerous other items in the vehicle, including tools,

electronics and jumper cables.      At the time, the officers were

unable to determine if these items were stolen.         As a result of

the search, Richards and one of the passengers were arrested for

narcotic and warrant related violations.        The third passenger in

the vehicle, identified as Luna Riekeman, was released at the

scene and given possession of the vehicle and the items inside

of it.

     11.   On December 1, 2021, NBPD Officer A. Daymude, who was

partnered with Officer Surber the previous evening, called NBPD

Detective D. Spenser at approximately 3:00 p.m.         Officer Daymude
 Case 8:22-cr-00127-DOC Document 1 Filed 12/21/21 Page 6 of 15 Page ID #:6




advised Detective Spenser that the victim of the stolen Toyota

4Runner had called to inform NBPD that his Apple AirPod Pros

were "pinging," or geolocating, in the area of 2640 North

Lakewood Boulevard, Long Beach, California.         Detective Spenser

spoke with the victim, who provided a detailed list of the

property stolen from his vehicle and a map of the area where his

Apple AirPod Pros were pinging.       Detective Spenser discovered

that the area of the “pings” were in close proximity to the

Staybridge Suites Hotel, located at 2680 North Lakewood

Boulevard.     NBPD detectives responded to the hotel and located

the same black BMW from the previous evening’s traffic stop.            At

about 9:10 p.m., NBPD detectives maintained surveillance on the

BMW as it left the area of the hotel and drove to Costa Mesa,

California.     The vehicle was stopped by NBPD detectives in a

shopping center located near 2701 Harbor Boulevard in Costa

Mesa.

        12.   NBPD Detective S. Esswein approached the vehicle from

the driver’s side and observed the driver, later identified as

ROYSTER, manipulating something near where the driver’s seat

abuts against the center console.       Detective Esswein could see

ROYSTER pushing down with his right hand, possibly in an effort

to conceal contraband.     After ROYSTER removed his hands from

that area of the driver’s seat, Detective Esswein noticed that

ROYSTER continued to look down to his right as if to make sure

the item was out of view.      When asked by Detective Esswein,

ROYSTER denied being on probation or parole.         A records check

conducted later in the investigation showed that ROYSTER was on
 Case 8:22-cr-00127-DOC Document 1 Filed 12/21/21 Page 7 of 15 Page ID #:7




parole for narcotic sales.      NBPD Detective M. Fasano contacted

the passenger, identified as Justin Pedersen, who informed

Detective Fasano that he was on parole.        An additional

passenger, Noah Roberts, was seated in the rear passenger

compartment of the vehicle.

        13.   Detectives Esswein and Fasano removed ROYSTER,

Pedersen and Roberts from the vehicle.        Pursuant to ROYSTER and

Pedersen’s active parole status and the ongoing stolen property

investigation, NBPD Detective E. Geoffroy conducted a search of

the vehicle.     During the search, Detective Geoffrey located a

brown leather Louis Vuitton fanny pack on top of a white blanket

on the left rear passenger seat.       Detective Geoffroy opened the

fanny pack and found a black, 9mm semi-automatic handgun loaded

with a total of eleven rounds of MXT 9x19 ammunition.          The

firearm did not have any markings identifying the weapon’s

manufacturer, model or serial number.        Based on my training and

experience, I know that these unmarked firearms are commonly

referred to as “ghost guns.”

        14.   Detective Geoffroy continued his search and found a

second handgun concealed between the front driver’s seat and the

center console, in the area where Detective Esswein had

initially observed ROYSTER manipulating something with his right

hand.    The firearm was identified as a black Glock, model 42,

.380 Caliber handgun bearing serial number ACUP267.          The handgun

also had a rail mounted Streamlight TLR-6 combination white

flashlight with visible red (laser) dot light.         Detective

Geoffroy ran a records check on the Glock’s serial number but
 Case 8:22-cr-00127-DOC Document 1 Filed 12/21/21 Page 8 of 15 Page ID #:8




did not find a record on file.      The magazine inside the Glock’s

magazine well was loaded with six rounds of .380 caliber

ammunition.   Detective Geoffroy also located a small bag

containing eight rounds of .22 caliber ammunition.

     15.    Detective Spenser informed ROYSTER, who was not

handcuffed at the time, that he was not under arrest and that he

was only being detained.     When asked about the vehicle, ROYSTER

stated that he got the vehicle from “Luna”.         ROYSTER initially

denied any knowledge of the guns in the vehicle.         When Detective

Spenser asked ROYSTER about Detective Esswein’s observation that

ROYSTER shoved an object between the car’s seat and center

console, ROYSTER responded, “Why would I say anything?           It can

be used against me in court."      ROYSTER then admitted that the

firearm found wedged between the driver’s seat and the center

console belonged to him.     When asked to describe the firearm,

ROYSTER stated that it was a black Glock, .380 caliber.

Detective Spenser also asked ROYSTER about the firearm that was

found by Detective Geoffroy in the Louis Vuitton fanny pack.

ROYSTER again initially denied ownership before admitting that

the other firearm also belonged to him.        ROYSTER described the

gun in the fanny pack as a Glock, 9mm Caliber, with a black

magazine.   While this second firearm did not have any markings

identifying the manufacturer or model, its appearance is similar

to most Glock handguns.     ROYSTER also admitted ownership of the

small bag containing the eight .22 caliber rounds of ammunition.

ROYSTER stated the .22 caliber rounds were given to him, but he

does not have a gun to shoot that caliber.
 Case 8:22-cr-00127-DOC Document 1 Filed 12/21/21 Page 9 of 15 Page ID #:9




        16.   ROYSTER stated he got the guns on the street for free

and carries them because of "PC’s."        Based on my training and

experience, I know that “PC” is a common prison term for

“Protective Custody,” which is a type of imprisonment designed

to protect an inmate from other prisoners.        Individuals

identified as informants, dropouts from a gang, and those

convicted of sexual crimes against women and children are often

placed in Protective Custody.      When asked to elaborate, ROYSTER

told Detective Spenser, “you know, NLR dropouts,” which, based

on my training and experience, I understand to be a reference to

members of the Nazi Low Riders gang who have dropped out of the

gang.    The Nazi Low Riders are a Neo-Nazi prison and street gang

found primarily in California and Texas.        ROYSTER also mentioned

that he had been shot at and carries the firearm for protection.

        17.   Detective Spenser also spoke to the other occupants of

the vehicle, identified as Justin Pedersen and Noah Roberts.

Both Roberts and Pedersen stated that they were hanging out with

one another when Pedersen needed to go to the hospital for

COVID-19 related treatment.      Pedersen needed a ride and arranged

for ROYSTER to pick them up.      Both Pedersen and Roberts denied

having any bags or fanny packs, and both denied knowledge of any

firearms in the vehicle.

        B.    ROYSTER’s Criminal History

     18.      I have reviewed ROYSTER’s criminal history for felony

convictions.     Based on my review of those records, I have learned

that ROYSTER was convicted of the following felonies on or about

the dates specified below:
Case 8:22-cr-00127-DOC Document 1 Filed 12/21/21 Page 10 of 15 Page ID #:10



           a.    On June 22, 2001, for possession of a controlled

substance for sales (methamphetamine), in violation of Health

and Safety Code ("HS") § 11378, in Orange County Superior Court,

Case No. 01SF0308, for which he was sentenced to 36 months of

probation and 365 days in jail;

           b.    On November 7, 2003, for transportation of a

controlled substance in violation of HS § 11379(a), in Orange

County Superior Court, Case No. 02SF0414, for which he was

sentenced to 4 years in prison;

           c.    On June 2, 2005, for possession of a controlled

substance for sales, in violation of HS § 11351, in Orange

County Superior Court, Case No. 05NF1805, for which he was

sentenced to 2 years in prison;

           d.    On August 18, 2006, for possession of a

controlled substance for sales (methamphetamine), in violation

of HS § 11378; transportation of a controlled substance, in

violation of HS § 11379(a); and evading a peace officer, in

violation of California Vehicle Code § 2800.2, Orange County

Superior Court, Case No. 06HF1363, for which he was sentenced to

4 years and 8 months in prison;

           e.    On August 25, 2009, for burglary, in violation of

California Penal Code (“CPC”) § 459-460(b), in Orange County

Superior Court, Case No. 09HF0615, for which he was sentenced to

4 years in prison;
Case 8:22-cr-00127-DOC Document 1 Filed 12/21/21 Page 11 of 15 Page ID #:11



           f.    On August 3, 2011, for burglary, in violation of

CPC § 459-460(b), in Orange County Superior Court, Case

No. 11CF1903, for which he was sentenced to 4 years in prison;

           g.    On May 2, 2013, for possession of a stolen

vehicle, in violation of CPC § 496d(a); accessing account

information without permission, in violation of CPC § 484e(d);

and receiving/possession of stolen property in violation of CPC

§ 496(a) in Orange County Superior Court, Case No. 13WF0219, for

which he was sentenced to 4 years in prison;

           h.    On March 18, 2015, for being a felon in

possession of a firearm, in violation of CPC § 29800(a)(1), in

Orange County Superior Court, Case No. 15CF0390, for which he

was sentenced to 56 months in prison;

           i.    On April 13, 2018, for possession of controlled

substance for sales, in violation of HS § 11352(a);

transportation of a controlled substance, in violation of HS

§ 11379(a); possession of controlled substance for sale

(methamphetamine), in violation of HS § 11378; and possession of

narcotics for sale HS § 11351, in Orange County Superior Court,

Case No. 17NF1172, for which he was sentenced to 3 years of

probation and 5 years in jail;

           j.    On May 18, 2020, for transportation of a

controlled substance, in violation of HS § 11379(a), in Orange
Case 8:22-cr-00127-DOC Document 1 Filed 12/21/21 Page 12 of 15 Page ID #:12



county Superior Court, Case No. 18HF1341, for which he was

sentenced to 3 years in prison;

             k.   On May 18, 2020, for bringing a controlled

substance into prison, in violation of CPC § 4573, in Orange

County Superior Court, Case No. 18CF3545, for which he was

sentenced to 3 years in prison; and

             l.   On May 18, 2020, for possession of a controlled

substance for sale, in violation of HS § 11351; transporting a

controlled substance, in violation of HS § 11352 (a); possession

of a controlled substance for sale (methamphetamine), in

violation of HS § 11378; and transportation of a controlled

substance (methamphetamine), in violation of HS § 11379(a), in

Orange County Superior Court, Case No. 18NF2925, for which he

was sentenced to 3 years prison.


     C.      Interstate Nexus Analysis

     19.     On December 17, 2021, I contacted FBI Special Agent
(“SA”) Trevor Twitchell, regarding the Glock firearm and

ammunition seized as evidence by NBPD on December 1, 2021.           On

December 17, 2021, SA Twitchell examined the firearm and

ammunition for purposes of determining whether the firearm and

ammunition had traveled in interstate or foreign commerce.           SA

Twitchell identified the seized firearm and ammunition as the

following:

             a.   A Glock, model 42, .380 caliber semi-automatic

handgun bearing serial number ACUP267.        SA Twitchell concluded
Case 8:22-cr-00127-DOC Document 1 Filed 12/21/21 Page 13 of 15 Page ID #:13




that the handgun was a firearm as defined in Title 18, United

States Code, Chapter 44, Section 921(a)(3), was manufactured in

Austria or Georgia, and had to have moved through either

interstate or foreign commerce given that it was recovered in

California.

             b.     Eleven rounds of 9mm ammunition, stamped “MXT

9x19 20-4.”       SA Twitchell concluded that the rounds were

ammunition as defined in Title 18, United States Code, Chapter

44, Section 921(a)(17)(A), were manufactured internationally,

and had to have moved through foreign commerce given that they

were recovered in California.

             c.     Three rounds of .380 caliber ammunition, stamped

“WIN 380 Auto.”      SA Twitchell determined that the rounds were

ammunition as defined in Title 18, United States Code, Chapter

44, Section 921(a)(17)(A), were manufactured in Mississippi,

Illinois, Missouri or internationally, and had to have moved

through interstate or foreign commerce given that they were

recovered in California.

             d.     Three rounds of .380 caliber ammunition, stamped

“PPU 380 Auto.”      SA Twitchell determined that the rounds were

ammunition as defined in Title 18, United States Code, Chapter

44, Section 921(a)(17)(A), were manufactured internationally,

and had to have moved through foreign commerce given that they

were recovered in California.

             e.     Five rounds of .22 caliber ammunition, stamped

“Super X.”    SA Twitchell determined that the rounds were

ammunition as defined in Title 18, United States Code, Chapter
Case 8:22-cr-00127-DOC Document 1 Filed 12/21/21 Page 14 of 15 Page ID #:14




44, Section 921(a)(17)(A), were manufactured in Mississippi,

Illinois, Missouri or internationally, and had to have moved

through interstate or foreign commerce given that they were

recovered in California.

           f.    Three rounds of .22 caliber ammunition, stamped

“REM.”   SA Twitchell determined that the rounds were ammunition

as defined in Title 18, United States Code, Chapter 44, Section

921(a)(17)(A), were manufactured in Arkansas or Connecticut, and

had to have moved through interstate commerce given that they

were recovered in California.

//

//

//
Case 8:22-cr-00127-DOC Document 1 Filed 12/21/21 Page 15 of 15 Page ID #:15



                             V. CONCLUSION

     20.   For all the reasons described above, there is probable

cause to believe that ROYSTER has committed a violation of Title

18, United States Code, Section 922(g)(1) (felon in possession

of a firearm and ammunition).


                                                 /s/
                                         FARSHID HASHEMPOUR
                                         Task Force Officer, FBI


Attested to by the applicant
in accordance with the
requirements of Fed. R. Crim.
P. 4.1 by telephone on this
21st day of December, 2021.
____


  DOUGLAS F. McCORMICK
HONORABLE DOUGLAS F. McCORMICK
UNITED STATES MAGISTRATE JUDGE
